     Case 2:07-cr-00003-LRS   ECF No. 69   filed 04/17/07   PageID.182 Page 1 of 2




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 6
                           UNITED STATES DISTRICT COURT
 7                        EASTERN DISTRICT OF WASHINGTON
 8
 9    UNITED STATES OF AMERICA,            )
                                           )   No. CR-07-003-LRS-1
10                      Plaintiff,         )
                                           )   ORDER GRANTING ORAL MOTION TO
11    v.                                   )   MODIFY CONDITIONS OF RELEASE AND
                                           )   SETTING STATUS HEARING
12    CHRISTOPHER FAYDO,                   )
                                           )
13                      Defendant.         )
                                           )
14                                         )
                                           )
15                                         )
                                           )
16
17         At the April 16, 2007, status hearing, Assistant U.S. Attorney

18   Timothy Durkin appeared for the United States.                    Defendant was

19   present with counsel John Nollette.

20         The court finds Defendant is in compliance with conditions of

21   release.

22         IT IS ORDERED a status hearing is set for                May 18, 2007, at

23   10:30 a.m., before the undersigned.

24         IT IS FURTHER ORDERED:

25         1.    Defendant’s oral Motion to modify conditions of release

26   (Ct. Rec. 68) is GRANTED.

27         2.    Defendant no longer shall be subject to home detention.

28   However, Defendant shall have a curfew of 9:00 p.m. to 7:00 a.m.

     ORDER GRANTING ORAL MOTION TO MODIFY CONDITIONS
     OF RELEASE AND SETTING STATUS HEARING - 1
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 1         3.    Defendant may seek lawful employment.
 2         4.    Defendant may obtain his driver’s license.
 3         5.    All other conditions previously set shall remain.
 4         DATED April 17, 2007.
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 6                             S/ CYNTHIA IMBROGNO
                          UNITED STATES MAGISTRATE JUDGE
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     ORDER GRANTING ORAL MOTION TO MODIFY CONDITIONS
     OF RELEASE AND SETTING STATUS HEARING - 2
